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                       N THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                NO. 4:04CR00291-11 JLH

MATHEW NORWOOD                                                                   DEFENDANT


                                     AMENDED ORDER

       The Judgment and Commitment Order entered on February 5, 2009, is hereby modified to

reflect that defendant’s term of supervised release will expire on November 2, 2009.

       All other conditions of supervised release remain in full force and effect as previously

imposed.

       IT IS SO ORDERED this 12th day of February, 2009.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
